Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 1 of 19




                 EXHIBIT 30
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 2 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 3 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 4 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 5 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 6 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 7 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 8 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 9 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 10 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 11 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 12 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 13 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 14 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 15 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 16 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 17 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 18 of 19
Case 2:15-cv-00102-RSM Document 94-30 Filed 09/18/15 Page 19 of 19
